                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE




UNITED STATES OF AMERICA,                            )
                                                     )
              Plaintiff,                             )
                                                     )
v.                                                   )       No. 3:06-CR-123
                                                     )       (JORDAN/GUYTON)
DOUGLAS TROY THOMPSON and                            )
RANDALL THOMPSON,                                    )
                                                     )
              Defendants.                            )



                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

§ 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case came before this Court on the government’s Motion to Quash

Subpoenas [Doc. 43], and a hearing was conducted on March 27, 2007. Present on behalf of the

government was Assistant United States Attorney Cynthia F. Davidson. Attorney Leslie McAdoo

participated via telephone on behalf of the defendant Douglas Thompson. Attorney John T. Milburn

Rogers participated via telephone on behalf of Randall Thompson. Neither defendant was present.

Argument was heard and this Court took the motion under advisement.

       During the hearing, attorney McAdoo defended the subpoenas by providing additional detail

and factual context for the information requested. After hearing this additional description, the

government agreed to seek and provide, to the extent possible, some of the material subpoenaed by

defendant Douglas Thompson. It appears to the Court that the parties may be able to resolve some,



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most or all of these information requests between themselves with further conversation.

Accordingly, the Court suggests that Attorney McAdoo and AUSA Davidson discuss with

specificity what item or items, or document is at the core of each subpoena request and whether the

government will or can provide that particular item or document. The Court appreciates the parties’

disagreement about the propriety of the subpoenas as they now read. As the Court considers the

arguments and pre-trial motions on this issue, in the interest of judicial economy and common sense,

if there is no disagreement as to certain specific items or documents the parties should endeavor to

identify those and inform the Court.

       Accordingly, this matter is set for a telephonic conference on April 19, 2007, at 1:30 p.m.

before this Court for the AUSA Davidson and Attorney McAdoo to report what, if any, agreement

has been reached as to the subject material of all or any part of these subpoenas. Attorney Rogers

has not joined in this issue and his participation in the telephonic conference is excused, though he

is welcome to join. After the telephonic conference, this Court will issue a written ruling on any

remaining issues related to the Motion to Quash Subpoenas. Should any of the counsel involved be

unable to participate in a telephonic conference on April 19, 2007, at 1:30 p.m., advise chambers

at (865) 545-4260 and the Court will designate a different date or time as requested.

               IT IS SO ORDERED.

                                              ENTER:

                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge




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